          EXHIBIT A12




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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF NEW JERSEY


 IN RE LIPITOR ANTITRUST LITIGATION
                                                        Master Docket No.
 This Document Related To:
                                                        3: 12-cv-02389-PGS-DEA
 ALL CASES


                              FURTHER AMENDED SCHEDULING ORDER

         It is hereby ORDERED that the Amended Scheduling Order previously entered at ECF No. $54

will be amended as follows:

         1. It is hereby ORDERED that litigation shall proceed under the following schedule:

                       Event                                 Current                     Amended
 Date for commencing rolling production of                             -




 documents. Privilege logs that correspond to
 each production shall be served no later than
 six weeks thereafter.                               May 30, 2019                        January 22, 2020
 Date for substantial completion of production
 of documents responsive to RFPs served on or
 before March 1, 2018; date for Defendants to
 report election as to waiver of privilege          September 26, 2019                    March 18, 2020
 Fact discovery closes                              March 26, 2020                      November 4, 2020
 Plaintiffs serve all opening expert reports        May 21, 2020                        February 10, 2021
 Defendants serve opposition expert reports         July 30, 2020                            May 5, 2021
 Plaintiffs serve rebuttal expert reports           September 17, 2020                        July 7, 2021
 Close of expert discovery1                         November 12, 2020                   September 1, 2021


         2. No later than October 14, 2019 the parties are directed to submit proposed dates for the

             remainder of the schedule either jointly or in competing forms of order.

Dated:    i/O/i
                  /f?                                 BY THE COURT:



                                                      Honor’o1as.Arpert, U.S.M.J.




 Each expert is to be deposed only one time.


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